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FOR THE WESTERN nisTRicT or TENNESSE`E ` ‘* ' `
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vs. Cr. No. 04-20405-D ` C° '
MARANDO BACHUS, 'T\§ l
Defendant.
MorioN To CONTINUE REPORT

 

Comes now the defendant, Mr. Michael Sanders, through Counsel of record, Mai'y C.

Jermann, With this, his motion to continue the report of this matter, currently set for May 19 at 9:00

am, before this Honorable Court, and would state and show the following:

By agreement of the parties, this matter is to be resolved in the State Criminal Court

1.
Counsel is waiting for a court date to be assigned

2. AUSA Greg Gilluli will not have any objection to this motion

3. Defendant requests a status setting one week out, so that this matter may be expedited

WHEREFORE, PREMISES CONS]DER_ED, Defendant moves this Honorable Court for

an order continuing this matter one week, so that the above matters can be resolved.

       

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Respectfully submitted,

N\©R/°\M~\J
italy c. Jémlm

Assistant Federal Defender

200 Jefferson Street, Suite 200
Memphis, TN 38103

901) 544-3895

 

CERTLFICATE or SERVICE

The Office of the Federal Defendei' has this date delivered a copy of the foregoing to Mr.

Greg Gilluli, ASA, Sth Floor Federal Building, Memphis, TN 38103.

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as

Mary C. Je

THIS iii day ofMay, 2005.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CR-20405 was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

